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“United States Court of Appeals for the Second Circuit

9023 JUR -6 AMY: 09 Thurgood Marshall U.S. Courthouse

40 Foley Square
CLERK'S OFFICE New York, NY 10007
U.S. COURT OF APPEALS
DEBRA ANN LIVINGSTON CATHERINE O'HAGAN WOLFE
CHIEF JUDGE CLERK OF COURT
Date: March 28, 2023 DC Docket #: 21-cv-6787
Docket #: 22-2327cv DC Court: SDNY (NEW YORK
Short Title: Sutton v, Marie CITY)

DC Judge: Vyskocil
NOTICE OF HEARING DATE. -

Argument Date/Time: Wednesday, May 10, 2023 at 10:00 am
Location: Thurgood Marshall U.S. Courthouse, 40 Foley Square,
New York, NY, 10007, 15th Floor, Room 1505

Time Allotment: 10 mins per side

Counsel and non-incarcerated pro se litigants presenting oral argument must register with
the courtroom deputy 30 minutes before argument.

Approximately one week prior to argument, the Court will advise the individuals who will
appear of the format for the argument. The Court prefers to hold argument in person, However,
argument may be held by Zoom, teleconference, or a combination of in-person and remote
arguments, depending upon then current pandemic-related considerations. A party who has
demonstrated good cause by motion and judges may participate remotely. If an argument is
remote, the parties will receive instructions to access Zoom or the teleconference.

A motion or stipulation to withdraw with or without prejudice must be filed no later than 3
business days prior to the scheduled date of argument. The Court will consider the motion or
stipulation at the time of argument, and counsel's appearance is required with counsel prepared
to argue the merits of the case. If a stipulation to withdraw with prejudice is based on a final
settlement of the case, the fully-executed settlement must be reported immediately to the
Calendar Team, and a copy of it must be attached to the stipulation.

Inquiries regarding this case may be directed to 212-857-8595.

See page 2 for additional information.
Counsel must file the completed form in accordance with Local Rule 25.1 or 25.2.
Pro Se parties must submit the form in paper.

Name of the Attorney/Pro Se presenting argument:
Firm Name (if applicable):
Current Telephone Number:

The above named attorney represents:
(} Appellant/Petitioner () Appellee-Respondent() Intervenor

Date:_ Signature;

NOTICE TO THE BAR
Offsite Video Argument, At this time the Court does not provide offsite video argument.

Recording of Argument. An audio recording of oral argument is available on the Court's
website. In addition, a CD of an argument may be purchased for $34 per CD by written
request to the Clerk. The request should include the case name, the docket number and the
date or oral argument. CDs will be delivered by first class mail unless the request instructs to
hold for pick- up or requests Federal Express Service, in which case a Federal Express
account number and envelope must be provided.

Court Reporters. Parties may arrange - at their own expense - for an official court reporter
to transcribe argument from a copy of the hearing tape or to attend and transcribe the hearing
directly. A party must first obtain written consent from opposing counsel - or move the Court
for permission - to have the court reporter attend and transcribe the hearing and must provide
the calendar clerk written notice, including the name, address and telephone number of the
attending reporter and, if applicable, the reporting firm at least one week prior to the hearing
date.

Interpreter Services for the Hearing Impaired. Counsel requiring sign interpreters or
other hearing aids must submit a written notice to the Calendar Team at least one week
before oral argument.

Inquiries regarding this case may be directed to 212-857-8595.
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UNITED STATES COURTHOUSE
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NEW YORK, NY 10007

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